Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 1 of 15 PagelD #:1

AO 91 (Rev. 11/11) Criminal Complaint AUSA Yasmin N. Best (312) 469-6024
UNITED STATES DISTRICTCOURT [™ [ [LE [)
NORTHERN DISTRICT OF ILLINOIS yy
EASTERN DIVISION JUL 08 2016 ¢
UNITED STATES OF AMERICA THOMAS G. BRUTON

CASE NUMBER: CLERK, U.S. DISTRICT COURT
Vv.

JAIME VALDEZ-JACOBO, 1 6 C R & 36

RONNIE R. MITCHELL, and
CAMUYR CORDON MAGISTRATE JUDGE GILBERT

AMENDED CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge
and belief:
In the Northern District of Illinois, Eastern Division, and elsewhere, the defendants
committed the following violations:
Count One

Code Section Offense Description

21 U.S.C. § 841(a)(1) On or about July 7, 2016, in Hoffman Estates, in the Northern
District of Illinois, JAIME VALDEZ-JACOBO, did knowingly and
intentionally distribute a controlled substance, namely, 100 grams or
more of a mixture and substance containing a detectable amount of
heroin, a Schedule I Controlled Substance.

Count Two
Code Section Offense Description

21 U.S.C. § 841(a)(1) On or about July 7, 2016, in Hoffman Estates, in the Northern
District of Illinois, RONNIE R. MITCHELL and SAMMY R.
GORDON did knowingly possess with the intent to distribute a
controlled substance, namely, approximately 100 grams or more of a
mixture and substance containing a detectable amount of heroin, a
Schedule I Controlled Substance.

Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 2 of 15 PagelD #:2

This criminal complaint is based upon these facts:

X Continued on the attached sheet.

Sworn to before me and signed in my presence.

Date: July 8, 2016

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ERIK COLLINS 7 _/
Special Agent, Drug Enforcement Administration
\ ( /

City and state: Chicago, Illinois

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- “Juidbe’s signature

JEFFREY T. GILBERT, U.S. Magistrate Judge

Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 3 of 15 PagelD #:3

UNITED STATES DISTRICT COURT
Ss

NORTHERN DISTRICT OF ILLINOIS

AFFIDAVIT

I, ERIK COLLINS, being duly sworn, state as follows:

I. INTRODUCTION

1. I am a Special Agent with the Drug Enforcement Administration
(“DEA”) and have been so employed since approximately September 2013. I am
currently assigned to the DEA Chicago Field Division. As such, I am an
“investigative or law enforcement officer” within the meaning of Section 2510(7) of
Title 18, United States Code; that is, an officer of the United States empowered by
law to conduct investigations of, and to make arrests for, offenses enumerated in
Title 18, United States Code, Section 2516.

2. Since becoming a Special Agent with DEA, my responsibilities include
the investigation of narcotics trafficking offenses, including, but not limited to,
violations of Title 21, United States Code, Sections 841, 843, and 846. I have been
involved in various electronic surveillance methods, the debriefing of defendants,
informants, and witnesses, as well as others who have knowledge of the
distribution, transportation, storage, and importation of controlled substances.
Some of the specialized training I have received includes, but is not limited to,
classroom instruction concerning narcotics smuggling, money laundering, andl
conducting conspiracy and complex investigations. I have conducted and

participated in investigations that have resulted in the seizure of controlled

Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 4 of 15 PagelD #:4

substances. I am familiar with, and have participated in all of the normal methods
of investigation, including but not limited to, visual surveillance, questioning of
witnesses, the use of search and arrest warrants, the use of consensually recorded
calls, text messages and meetings, the management and use of informants, and pen
registers.

3. Through these investigations, my training and experience, and
conversations with other law enforcement officers, I have become familiar with the
methods used by narcotics traffickers to distribute, transport, store, and import
controlled substances. I have also had experience with multiple consensually
monitored telephone calls with cooperating defendants, informants, and subjects of
investigations.

4. Because this Affidavit is for the limited purpose of establishing
probable cause to support the criminal complaint and the issuance of arrest
warrants against the proposed defendants, it contains only a summary of relevant
facts. I have not included each and every fact known to me concerning the entities,
individuals, and events described in this Affidavit.

5. The statements contained in this Affidavit are based in part on: (a) my
personal participation in this investigation; (b) information provided by other
federal and local law enforcement officers (“LEOs”); (c) laboratory analysis reports;
(d) surveillance reports; (e) criminal history records; (f) information from
cooperating sources; and (g) my training and experience and the training and

experience of other law enforcement agents.

Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 5 of 15 PagelD #:5

II. PROBABLE CAUSE

A. Background

6. Since approximately June 2016, the DEA has been conducting an
investigation into allegations that Jaime VALDEZ-JACOBO (“VALDEZ-JACOBO”)
is engaged in an ongoing narcotics distribution conspiracy in the Chicago area and
elsewhere. In June 2016, a cooperating defendant (the “CD”) working with law
enforcement provided information regarding the historical narcotics trafficking
activities of VALDEZ-JACOBO and others in and around the Chicago area. Based
on information provided by the CD and corroborated by information obtained from
law enforcement databases, agents initiated an investigation of VALDEZ-JACOBO.
As described in more detail below, on July 7, 2016, law enforcement was conducting
surveillance of VALDEZ-JACOBO in the Aurora, Illinois area. As a result of this
surveillance, law enforcement seized approximately 577 grams of heroin distributed
by VALDEZ-JACOBO to Ronnie R. MITCHELL and Sammy R. GORDON.

B. Historical Information Obtained from the CD

ts The CD is providing information in this investigation in exchange for
consideration regarding narcotics charges arising from svents that occurred in 2015.
The CD’s criminal history includes convictions for narcotics trafficking and
immigration offenses. Since beginning to cooperate with law enforcement, the CD
has provided reliable and corroborated information to law enforcement in this
investigation. The information provided by the CD has been corroborated by

physical surveillance, investigative databases and information from other law
Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 6 of 15 PagelD #:6

enforcement officers. Based on law enforcement dealings with the CD and the
information provided in this Affidavit, I consider the CD to be credible and believe
that the information provided by CD is reliable.

8. According to the CD, the CD has obtained approximately 6 kilograms
of heroin from a person he knows as “Paisa,” over the course of the last year, most
recently in approximately April 2016. The CD described Paisa as a Hispanic man
approximately 30 years of age who has a short haircut. The CD stated that Paisa
_ typically charges $50,000 to $53,000 per kilogram. The CD stated that Paisa told
the CD that Paisa and/or other people working with Paisa, including Paisa’s
brother, transport approximately 5 kilograms of heroin at a time concealed in
working car batteries or other car traps from the Houston, Texas area. According to
the CD, Paisa typically receives loads of heroin delivered to the greater Chicago
area every couple of weeks. According to the CD, Paisa’s brother typically
transports heroin at Paisa’s direction from Houston and in the greater Chicago
area. The CD also provided agents with two telephone numbers for Paisa, including
(331) 229-1683. The CD also informed agents that Paisa also works as a roofer and
drives a white construction pickup truck.

a. The CD also stated that he was planning to register a truck in Paisa’s
brother’s name. As a result, the CD received a copy of Paisa’s brother’s Mexican
consular identification. That identification contained an address on 400 block of

South Lasalle Street in Aurora (the “Lasalle Street residence”).
Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 7 of 15 PagelD #:7

10. The CD also accompanied law enforcement to a residence, located on
the 100 block of North Calhoun Street in Aurora, Illinois (“the Calhoun Street
residence”), where the CD stated that he/she typically met Paisa in the past to
obtain heroin and make payments for heroin. According to the CD, such
transactions typically took place in the driveway of this residence.!

C. July 7, 2016 Seizure of approximately 577 Grams Heroin

11. On July 7, 2016, as part of this investigation, law enforcement began
conducting surveillance of the Lasalle Street and Calhoun Street residences. At
approximately 8:51 a.m., as surveillance was arriving in the vicinity of the Lasalle
Street residence, agents observed an individual later identified as VALDEZ-
JACOBO? departing in a white Chevy work pickup truck, bearing Illinois license
plate 1787733 and registered to another person (“Individual A”) at the Lasalle
Street residence. Mobile surveillance was initiated, and agents observed VALDEZ-
JACOBO running errands and working (including performing roofing work), until
mobile surveillance of VALDEZ-JACOBO was terminated at approximately 11:00
a.m.

12. At approximately 3:10 p.m., agents conducting surveillance of the
Calhoun Street residence observed VALDEZ-JACOBO, driving the white Chevy
work pickup truck, arrive at the Calhoun Street residence. Surveillance observed

VALDEZ-JACOBO exit the Chevy truck and enter the residence.

1 A review of law enforcement databases regarding narcotics also indicated the Calhoun
Street residence as being associated with VALDEZ-JACOBO.

2 VALDEZ-JACOBO was identified after his arrest, described in more detail below, based
on his presentation of identification to arresting agents.
Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 8 of 15 PagelD #:8

13. At approximately 3:14 p.m., surveillance observed VALDEZ-JACOBO
exit the residence, enter the Chevy truck, and depart the area. Mobile surveillance
was maintained on VALDEZ-JACOBO until he arrived at a shopping plaza, located
near the intersection of North Salem Drive and West Golf Road in Schaumburg,
Illinois. Surveillance then observed VALDEZ-JACOBO enter El Mercadito store,
located at 1053 North Salem Drive in Schaumburg.

14. At approximately 4:12 p.m., surveillance observed VALDEZ-JACOBO
exit El Mercadito with a drink and ice cream in his hands, enter the Chevy truck,
and drive the Chevy truck to a different location in the same lot.

15. At approximately 4:27 p.m., surveillance observed a grey Ford F150
truck, bearing Illinois license plate 195891 and being driven by an individual
subsequently identified as GORDON, and a gold Volvo SUV, bearing Illinois license
plate Q142242 and being driven by an individual subsequently identified as
MITCHELL, enter the lot and drive towards VALDEZ-JACOBO. At the same time,
surveillance observed VALDEZ-JACOBO, driving the Chevy truck, beginning to
exit the parking lot. VALDEZ-JACOBO was followed by GORDON and MITCHELL
in their respective vehicles. Surveillance observed VALDEZ-JACOBO proceed to a
nearby large apartment complex on the west side of the 700 block of North Salem in
Hoffman Estates, where he parked.

16. Mobile surveillance observed the grey Ford F150 and gold Volvo SUV
proceeding to a parking lot of a business complex near the 900 block of Bode Road in

Schaumburg, which was across the street from where VALDEZ-JACOBO was

Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 9 of 15 PageID #:9

parked. At approximately 4:30 p.m., surveillance observed GORDON park the grey
Ford F150, exit the vehicle carrying a large, white paper shopping bag and enter the
passenger seat of the gold Volvo SUV. Surveillance then observed the gold Volvo
SUV, then occupied by MITCHELL and GORDON, drive across the street to meet
VALDEZ-JACOBO.

17. At approximately 4:32 p.m., surveillance observed VALDEZ-JACOBO,
GORDON and MITCHELL meet near the apartment complex parking lot. From his
vehicle, VALDEZ-JACOBO spoke to GORDON and MITCHELL, who were in the
Volvo SUV, before leading them to a parking lot of an apartment complex located on
the 600 block of North Salem Drive in Hoffman Estates, Illinois. Once there,
VALDEZ-JACOBO, GORDON, and MITCHELL each exited their vehicles, talked
briefly, and entered the apartment complex. GORDON was carrying the
aforementioned white paper shopping bag as he entered.

18. At approximately 4:41 p.m., surveillance observed MITCHELL and
GORDON exit the apartment complex. GORDON was again carrying the white
paper shopping bag. MITCHELL and GORDON entered the gold Volvo SUV and
departed the area. Mobile surveillance was maintained as MITCHELL and

GORDON left the area.

D. Arrests of MITCHELL and GORDON and Their Post-Arrest
Interviews

19. At approximately 4:45 p.m., surveillance observed MITCHELL and

GORDON arrive at the parking lot where the grey Ford F150 was parked in
Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 10 of 15 PagelD #:10

Schaumburg. At this time, agents approached MITCHELL and GORDON. Upon
approach, agents observed through the window the white paper shopping bag on the
rear passenger side floorboard of the Volvo. Through the window, agents could see
the white paper shopping bag was open, and observed what they believed to be
approximately a half-kilogram brick of what they believed to be narcotics at the
bottom of the bag. \

20. Agents identified themselves for MITCHELL and GORDON, conducted
protective pat-downs, and asked for identification from both. Both MITCHELL and
GORDON provided their driver’s licenses to agents. Agents asked MITCHELL, who
was the driver of the Volvo SUV, for consent to search the Volvo, and MITCHELL
provided verbal consent to search the vehicle. Agents observed and removed a white
shopping bag, containing a brick-shaped package of clear plastic wrapped in black
electric tape. The package weighed approximately 577 grams of white powdery
substance, the contents of which field tested positive for the presence of heroin.

21. During an on-scene interview, before he was given his Miranda
warnings, MITCHELL stated that he had traveled with GORDON to the apartment
on North Salem Drive but had remained in the hallway and didn’t see what
occurred there.

22. While GORDON was in custody but before he was given his Miranda
warnings, at approximately 6:12 p.m., agents transported to the apartment complex
located on the 600 block of North Salem Drive, where agents asked GORDON to

identify the unit in which he had received the heroin. GORDON pointed out
Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 11 of 15 PagelD #:11

apartment 108 inside the apartment complex as the apartment where the heroin
transaction took place. GORDON also stated that he had seen another half-
kilogram of heroin in the apartment.

23. GORDON was subsequently transported to the Hoffman Estates police
department, where he was read his Miranda warnings and provided with a written
Miranda form. GORDON verbally acknowledged that he understood his rights, read
the form and signed the waiver of his rights, and agreed to talk to agents.

24. During the post-arrest interview, GORDON stated that MITCHELL
organized the heroin transaction by telephone with the person GORDON and
MITCHELL had met earlier that day. GORDON stated that he did not have a
telephone number for the heroin supplier, whose name he did not know. According
to GORDON, once he and MITCHELL arrived at apartment 108, GORDON,
MITCHELL, and the heroin supplier entered the apartment. GORDON stated once
inside the apartment, GORDON handed over the white paper shopping bag
containing approximately $28,000 to the heroin supplier, who then went to a
bedroom. According to GORDON, a short time later, the heroin supplier exited the

bedroom and handed back the white paper shopping bag, now containing what

GORDON believed to be approximately 500 grams of heroin, to GORDON.

GORDON then exited the apartment and returned to the Volvo SUV with .

MITCHELL. GORDON also stated that contrary to his previous statement, he did
not observe another half-kilogram of heroin in apartment 108. During the post-

arrest interview, GORDON identified a photograph of VALDEZ-JACOBO, taken by
Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 12 of 15 PagelD #:12

agents on July 7, 2016, as the person who distributed the heroin to him earlier that
day.

25. MITCHELL was also transported to the Hoffman Estates police
department, where he was read his Miranda warnings and provided with a written
Miranda form. MITCHELL verbally acknowledged that he understood his rights,
read the form and signed the waiver of his rights, and agreed to talk to agents.
During his post-arrest interview, MITCHELL stated that he was paid $1000 to
introduce GORDON to a heroin supplier he addressed only as “Friend.” MITCHELL
provided agents with consent to search his telephone, and identified telephone
number (630) 453-4650, listed in his recent call logs, as the number for the heroin
supplier. MITCHELL also admitted that, contrary to his prior statement, he
entered the apartment with GORDON and the heroin supplier to complete the
transaction. MITCHELL also stated he bought a half-kilogram of heroin from the
same heroin supplier earlier in 2016. During the post-arrest interview, MITCHELL
identified a photograph of VALDEZ-JACOBO, taken by agents on July 7, 2016, as
the person who distributed the heroin to him earlier that day and from whom he

previously purchased heroin.

10

Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 13 of 15 PagelD #:13

E. Arrest of VALDEZ-JACOBO and His Post-Arrest Interview

26. At approximately 6:38 p.m., surveillance observed VALDEZ-JACOBO
exit apartment 108 and lock the door. Agents observed VALDEZ-JACOBO carrying
a plastic shopping bag with a large amount of U.S. Currency visible through the
bag. Agents approached VALDEZ-JACOBO as he finished locking the door and
asked him about the contents of the bag. VALDEZ-JACOBO. admitted the bag
contained money. Agents then asked VALDEZ-JACOBO for consent to apartment
108; VALDEZ-JACOBO verbally consented and signed a written consent form.
VALDEZ-JACOB was then arrested and read his Miranda warnings, and VALDEZ-
JACOBO verbally stated he understood and agreed to speak to agents.

27. Agents conducted a protective sweep of apartment 108. After
determining that no one else was present in the apartment at that time, agents also
provided VALDEZ-JACOBO with a written Miranda form. VALDEZ-JACOBO read
the form and signed the waiver of his rights, and agents conducted a preliminary
interview of him in apartment 108.

28. During the post-arrest interview, VALDEZ-JACOBO stated he lived at
this apartment with his cousin, who he identified as Individual B, and some other
men. VALDEZ-JACOBO admitted to receiving the U.S. currency in his possession
from an unknown black man earlier that day, but denied distributing any narcotics
to the unknown man. VALDEZ-JACOBO stated he was picking up the money for a
man he knows only as “Chelo,” who lives in Mexico City. VALDEZ-JACOBO stated

that according to the instructions he received, he was to wait for a call for further

11

Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 14 of 15 PagelD #:14

instructions on what to do with the U.S. Currency, but anticipated giving it to an
unknown individual at a later time. VALDEZ-JACOBO stated he has done this a
couple of times in the past.

29. During the post-arrest interview, VALDEZ-JACOBO also consented to
the search of two telephones in his possession. During the search, agents
determined that the telephone number for VALDEZ-JACOBO’s iPhone is (831) 229-
1683, which matched the telephone number provided by the CD in June 2016.
Agents determined that the telephone number for VALDBZ-JACOBO’s AT&T flip
phone is (630) 453-4650, which matched a telephone number recovered from
MITCHELL’s telephone call log after MITCHELL consented to the search of a
phone recovered from him during the course of his arrest.

30. During the consent search of the apartment, agents located a playing
card box inside of the pocket of a jacket hanging in a bedroom closet. The playing
card box contained a plastic baggie containing approximately 9.9 grams of white
powdery substance which field tested positive for cocaine. During his post-arrest
interview, VALDEZ-JACOBO stated this was his cocaine for personal use.

HiIl. CONCLUSION

31. Based on the foregoing, I believe there is probable cause to believe
that:

a. On or about July 7, 2016, in Hoffman Estates, in the Northern District
of Illinois, JAIME VALDEZ-JACOBO, did knowingly and intentionally distribute a

controlled substance, namely, 100 grams or more of a mixture and substance

12
Case: 1:16-cr-00436 Document #: 1 Filed: 07/08/16 Page 15 of 15 PagelD #:15

containing a detectable amount of heroin, a Schedule I Controlled Substance, in
violation of Title 21, United States Code, Section 841(a)(1); and

b. On or about July 7, 2016, in Hoffman Estates, in the Northern District
of Illinois, RONNIE R. MITCHELL and SAMMY R. GORDON did knowingly
possess with the intent to distribute a controlled substance, namely, 100 grams or
more of a mixture and substance containing a detectable amount of heroin, a
Schedule I Controlled Substance, in violation of Title 21, United States Code,

Section 841(a)(1).

FURTHER AFFIANT SAYETH NOT.

xh) Cli

ERIK COLLINS
Special Agent, Drug Enforcement Administration

ZY
SUBSCRIBED Dan SWORN to before me on July 8, 2016.

Mi,
JEFFREY 1. GILBERT
“United States Magistrate Judge

13

